                    Case 21-14292      Doc 45    Filed 01/03/22     Page 1 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION


 IN RE:                                             CHAPTER 13
 MELANGE S. SCOTT                                   CASE NUMBER: 21-14292

         DEBTOR


 MELANGE S. SCOTT

         MOVANT

 Vs.

 PETER M. FERRARO

         RESPONDENT


  MOVANT’S REPLY TO RESPONDENT’S RESPONSE TO MOTION FOR RELIEF
       FROM THE AUTOMATIC STAY TO PERMIT CONTINUATION
                 OF PENDING APPEAL PROCEEDINGS

         NOW COMES, Melange S. Scott (hereinafter referred as “Movant” or “Debtor”

respectively), by and through her attorneys KIM PARKER, ESQUIRE and THE LAW OFFICES OF KIM

PARKER, P.A., and replies to the Respondent’s Response and for reason state:

         1.       The Respondent’s response does not explain how a one-year lease, that non-

renewed, was used to support a default judgment. As admitted by the Respondent in his response,

the lease was entered into on March 16, 2015, and thus, would have expired on March 31, 2016,

resulting in a month-to-month tenancy.

         2.       In his Motion for Summary Judgment filed in the Circuit Court for Baltimore

County, Respondent falsely represented the following:

         “The present case involves an action commenced by Plaintiff, Peter M. Ferraro,
         on or about December 4, 2020, against Defendant, Melange Shamell Davis a/k/a


Page 1
                    Case 21-14292           Doc 45      Filed 01/03/22        Page 2 of 5




         Melange Shamell Scott (the “Defendant”), (the “Complaint”) in connection with
         a one-year residential lease for 3420 Woodring Avenue, Baltimore, Maryland
         21234 (the “Lease”). A true and accurate copy of the Lease, as attached to the
         Complaint, is attached hereto as Exhibit A and is incorporated herein by
         reference. The Complaint alleges the Defendant defaulted under the Lease by
         failing and refusing to pay rent and other expenses, resulting in damages to
         the Plaintiff in the amount of $18,346.99,…………….”.

See Exhibit A

         3.      Moreover, in the Statement of Undisputed Facts, the Respondent falsely

represented that the Lease was in effect at the time Defendant [v]acated the Leased Premises. See

Exhibit A, Page 3, Section 8.

         4.      Furthermore, the Respondent admits that that the Movant’s status was a Month to

-Month tenancy, and that the Movant allegedly abandoned1 the premises; allegedly leaving the

premises in such a condition that prevented Respondent from renting the premises until major

repairs were completed. Response ¶6. The Respondent admitted that the Movant “abandoned” the

premises on May 1, 2020, but fails to explain why the ledger reflected rental payments due from

May 1, 2020 to December 1, 2020. See also Exhibit A, Page 3, Section 9.

         5.      The Respondent further argues that “it is believed”2 that Movant made a claim for

insurance for damages to the premises and never used those proceeds to restore the premises. The

Respondent provided no evidence that the Movant made a claim for damages, and even assuming

arguendo that she did, that he was entitled to the proceeds. It is without question that the Movant

was a tenant, and that as tenant the only insurance she would have been required to obtain is a

“Renters Policy” which would only cover “her” belongings and “damages” related to the

“structure” of the rented premises. Nowhere in the response, or in the pleadings filed in the Circuit



1
  Movant did not abandon the premises but provided Respondent with written notice of her intent to vacate, although
there was no contractual requirement to give notice on an expired lease.
2
  No evidence was provided to the Circuit Court that Movant deprived Respondent of an opportunity to file an
insurance claim.


Page 2
                  Case 21-14292        Doc 45     Filed 01/03/22     Page 3 of 5




Court does the Respondent argue what acts or omissions by the Movant and/or her agents caused

damages to the structure of the premises. Instead, Respondent simply included an amount which

he purports represents the damages to the premises allegedly caused by Movant. The foregoing is

insufficient evidence to support a default against the Movant, and therefore it was an abuse of

discretion for the Circuit Court to grant the default judgment in this regard.

         6.    Respondent correctly notes that the Movant did not file a Motion to Vacate Default

Judgment. Movant, however, timely filed her appeal, as a matter of right. Said appeal is pending

and active.

         7.    The Respondent has engaged in stratagem to prevent the Movant from having her

day in court; and based on the misrepresentations presented in the Circuit Court, it is

understandable why allowing the case to move forward would be concerning to him. As a part of

the Respondent’s strategy of stratagem, he deprived Movant an opportunity to be heard by (a)

relying on falsified documents and misrepresentations in the pleadings to support the Court’s

consideration of the Default judgment, (b) filing motions to strike her answer despite her answer

having been filed and docketed (c) serving request for admissions containing misrepresentations,

(d) filing a motion to strike the appeal on the basis that Movant served the Respondent instead of

his attorney and (e) filing a motion to strike appeal on the basis that Movant did not file an

information report.

         8.    In our jurisprudence, cases should be heard on the merits, not dismissed based on

technicalities, less justice triumph. See Bond v. Slavin, 851 A.2d 598, 157 Md. App. 340 (Ct. Spec.

App. 2004) (it is the practice of this Court to decide appeals on the merits rather than on

technicalities) see also Laber v. Harvey, 438 F.3d 404 (4th Cir. 2006); Matrix Capital Management

Fund, LP v. BearingPoint, 576 F.3d 172 (4th Cir. 2009).




Page 3
                  Case 21-14292         Doc 45     Filed 01/03/22      Page 4 of 5




         9.     The Respondent’s conduct in the Circuit Court is reprehensible and deserving of

sanctions. Any alleged prejudice or harm to Respondent, should this Court grant Movant’s motion,

is as a result of his own conduct, and not that of the Movant.

         10.    In addition, in light of the allegations stated hereto, it is doubtful that Respondent’s

counsel can continue to advocate on his behalf because they will be a witness at any hearing and/or

trial on this matter and therefore cannot act as both a witness and advocate. See Maryland Rule

19-303.7(a).

         11.    Respondent is attempting to employ the court to violate Movant’s substantive and

procedural due process rights. Due Process requires Movant a right to be heard. As stated supra,

she was unfairly deprived of that right in the Circuit Court of Baltimore County, and Respondent

seeks to also deprive the Movant of her right to an appeal to redress the wrongs set forth herein.

         12.    This Court should decline his invitation and permit Movant to proceed with her

appeal. Movant has meritorious defenses against this judgment and the likelihood of success on

appeal is good, especially in light of the Circuit Court record.

         WHEREFORE, for all the foregoing reasons, Movant respectfully requests that this Court

lift the automatic stay for the sole purpose of permitting Movant to prosecute her appeal. As stated

herein, permitting the continuation of the Appeal will not offend, disrupt, delay, or impede

progression of the bankruptcy case.

                                                Respectfully Submitted,

                                                THE LAW OFFICES OF KIM PARKER, P.A.

                                                /s/ Kim Parker
                                                ____________________________
                                                Kim Parker, Esquire
                                                COUNSEL FOR MOVANT
                                                Bar No.: 23894
                                                2123 Maryland Avenue



Page 4
                  Case 21-14292      Doc 45    Filed 01/03/22   Page 5 of 5




                                            Baltimore, Maryland 21218
                                            O:410-234-2621
                                            F: 410-234-2612
                                            E:kp@kimparkerlaw.com


                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 3rd day of January 2022, a copy of the foregoing Reply

to Response to Motion for Relief and the correspondence were served via the Court’s ECF filing

system to Scott Wheat, Esquire, counsel for the Respondent.

                                            /s/ Kim Parker
                                            ____________________________
                                            Kim Parker, Esquire




Page 5
